 ON REMAND FROM THE UNITED STATES SUPREME COURT
This court affirmed appellant's conviction and the Alabama Supreme Court denied certiorari on April 25, 1986. Hines v.State, 487 So.2d 970 (Ala.Cr.App. 1986). By order of the Supreme Court of the United States, dated February 23, 1987,479 U.S. 1077, 107 S.Ct. 1271, 94 L.Ed.2d 133, the judgment of this court was vacated and the cause remanded to us for further consideration in light of Griffith v. Kentucky, 479 U.S. 314,107 S.Ct. 708, 93 L.Ed.2d 649 (1987). By the terms of Griffith, since this case was still pending on direct appeal on the date of the decision in Batson v. Kentucky, 476 U.S. 79,106 S.Ct. 1712, 90 L.Ed.2d 69 (1986), the Batson issue in this case must be addressed.
We therefore remand this case to the circuit court for it to conduct a Batson hearing in order to allow the prosecutor an opportunity to testify as to his reasons for his peremptory strikes of black members of the venire, and for the court to decide whether he has presented sufficiently "race-neutral" explanations. The trial court shall promptly file a return with this court containing the evidence at this hearing and the trial court's finding following the hearing, so that we may review them.
REMANDED WITH DIRECTIONS.
All the Judges concur.
 ON RETURN TO REMAND